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                                                    IN THE COUNTY COURT, THIRTEENTH
                                                    JUDICIAL CIRCUIT, IN AND FOR
                                                    HILLSBOROUGH COUNTY, FLORIDA



                                                    CASE NO.:

        ELIZABET VELEZ

                      Plaintiff,

               V.

        WEBCOLLEX, LLC,
        dba CKS FINANCIAL,

                      Defendant.
                                               /

                                    COMPLAINT AND JURY DEMAND
                                   (Unlawful Debt Collection Practices)

                                         I.        INTRODUCTION

               1.     This is an action for damages brought by an individual consumer against

        Webcollex, LLC dba CKS Financial ("CKS Financial") for violation of the Fair Debt

        Collection Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA") and the Florida

        Consumer Collection Practices Act, Section 559.55, et seq., Florida Statutes

        ("FCCPA"), each of which prohibits debt collectors from engaging in abusive, deceptive,

        and unfair practices.

               When it enacted the FDCPA, Congress found there to be abundant evidence of

        the use of abusive, deceptive, and unfair debt collection practices by many debt

        collectors. Abusive debt collection practices contribute to the number of personal

        bankruptcies, to marital instability, to the loss of jobs, and to invasions of individual

        privacy.
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                            II.      JURISDICTION AND VENUE

       2.      This is an action for damages not exceeding $15,000.00, exclusive of

interest, costs, and attorney's fees and is within the jurisdictional limits of this court.

       3.      Plaintiff Elizabet Velez ("Velez") is a natural person residing in the City of

Temple Terrace, County of Hillsborough, and State of Florida.

       4.      Venue of this action is proper in the county named above because the

cause of action accrued in Hillsborough County and it is the county where Velez

resides.

       5.      Upon information and belief, Defendant is CKS Financial, a Virginia debt

collection company operating from an address at 505 Independence Parkway, Suite

300, Chesapeake, Virginia 23320 and doing business collecting debts in the State of

Florida.

       6.      CKS Financial may be served at the address listed on the court summons

through its registered agent in the State of Florida.

       7.      For the purposes of this Complaint, unless otherwise indicated,

"Defendant" or "CKS Financial" includes all agents, employees, officers, members,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives, and insurers of the Defendant named in this caption.

                              III.   FACTUAL ALLEGATIONS

       8.      CKS Financial is engaged in the collection of debts from consumers using

the mail and telephone. CKS Financial regularly attempts to collect consumer debts

alleged to be due to another. CKS Financial is a "debt collector" as defined by the

FDCPA, 15 U.S.C. § 1692a(6) and the FCCPA, Section 559.55(7), Florida Statutes.


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        9.     Velez is a "consumer" as defined by the FDCPA, 15 U.S.C. § 1692a(3)

and the FCCPA, Section 559.55(8), Florida Statutes.

       10.     Upon information and belief, the debt at issue was a Lending Club account

with an alleged balance in the amount of $16,958.71 and which Velez used for

personal, family, and household services.

       11.     The purported debt that CKS Financial attempted to collect from Velez

was a "debt" as defined by the FDCPA, 15 U.S.C. § 1692a(5) and a "consumer debt" as

defined by the FCCPA, Section 559.55(6), Florida Statutes.

       12.     Upon information and belief, at some time prior to February 5, 2018, the

alleged debt was consigned, placed, sold, or otherwise transferred to CKS Financial for

collection from Velez.

       13.     After receiving multiple telephone calls and voice messages, Velez first

returned a call to CKS Financial on or about June 8, 2018. In the telephone call, the

collection representative presented information about the alleged debt at issue and

various settlement options. Velez explained that she was unable to accept either of the

settlement options and CKS Financial transferred to call to another representative.

       14.     Velez explained her financial difficulties due to a significant loss in income

after her husband suffered a severe accident; however, upset that Velez was unable to

accept the settlement offer, the representative became agitated and much more

aggressive in attempting to collect the alleged debt.

       15.     In an extremely threatening manner, the representative insisted that Velez

did not understand who she borrowed the money from, that she would have to pay them

back, and that she knew what she was getting herself into when borrowing the money.


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        16.    Due to the tone and aggressiveness of the collection representative, Velez

indicated that she would be talking to her attorney and would be represented by counsel

on the alleged debt.

        17.    The representative indicated that CKS would conduct an investigation into

her assets and that such investigations would continue until they were paid.

        18.    Finally, the representative stated that the account would be notated as a

"refusal to pay," and finally terminated the telephone call.

        19.    Four days later, on June 12, 2018, CKS Financial contacted Velez by

telephone in an effort to collect on the alleged debt. After the initial information was

relayed by the collection representative, Velez stated that she was surprised to receive

the call due to the disrespecfful nature of the initial call and the refusal to pay notation

on the account.

       20.     Velez informed the collection representative that she had retained an

attorney to represent her with regard to the alleged debt; however, the collection

representative continued to seek resolution of the alleged debt directly with Velez.

Velez provided her attorney's contact information and the telephone call was

terminated.

       21.     Upon information and belief, Defendant continued to attempt to collect on

the alleged debt by calling at least two times thereafter.

       22.     As a result of CKS Financial's actions, Velez suffered actual damages.




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                               IV.     FIRST CLAIM FOR RELIEF

                                     (Violation of the FDCPA)

        23.    Velez repeats, realleges, and incorporates by reference each of the

averments in paragraphs 2 — 22 above.

        24.    CKS Financial violated the FDCPA. CKS Financial's violations include,

but are not limited to, the following:

               (a)     CKS Financial violated 15 U.S.C. § 1692c(a)(2) by continuing to

                       collect on the alleged debt with knowledge that Velez was

                       represented by counsel;

               (b)     CKS Financial violated 15 U.S.C. § 1692d by engaging in conduct

                       the natural consequence of which was to harass, oppress, and

                       abuse Velez;

               (c)     CKS Financial violated 15 U.S.C. § 1692d(1) by threatening the use

                       of violence or other criminal means to cause harm to Velez;

               (d)     CKS Financial violated 15 U.S.C. § 1692e(2) by falsely

                       representing the character, amount, or legal status of the alleged

                       debt;

               (e)    CKS Financial violated 15 U.S.C. § 1692e(5) by threatening an

                      action that cannot legally be taken; and

               (f)    CKS Financial violated 15 U.S.C. § 1692e(10) by the various

                      misrepresentations set forth above.




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        25.    As a result of the above averments, CKS Financial is liable to Velez for

actual damages and statutory damages, in an amount less than $15,000.00 of which

the exact amount will be proven at trial, as well as attorney fees and costs.

                            V.      SECOND CLAIM FOR RELIEF

                                   (Violation of the FCC PA)

        26.    Velez repeats, realleges, and incorporates by reference each of the

averments in paragraphs 2 — 22 above.

        27.    CKS Financial violated the FCCPA. CKS Financial's violations include,

but are not limited to, the following:

               (a)     CKS Financial violated Section 559.72(2), Florida Statutes, by

                       threatening force or violence;

               (b)     CKS Financial violated Section 559.72(7), Florida Statutes, by

                       willfully communicating with the debtor with such frequency as can

                       reasonably be expected to harass the debtor and willfully engaging

                       in other conduct which can reasonably be expected to abuse or

                       harass the debtor;

               (c)     CKS Financial violated Section 559.72(9), Florida Statutes, by

                       attempting to enforce a debt when such person knows that the debt

                       is not legitimate, or asserts the existence of some other legal right

                       when such person knows that the right does not exist; and

                (d)   CKS Financial violated Section 559.72(18), Florida Statutes, by

                      continuing to collect on the alleged debt with knowledge that Velez

                      was represented by counsel.


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        28.     As a result of the above averments, CKS Financial is liable to Velez for

actual damages and statutory damages in an amount less than $15,000.00 of which the

exact amount will be proven at trial, as well as attorney fees and costs and declaratory

and injunctive relief.



WHEREFORE, Velez respectfully requests that judgment be entered against

Webcollex, LLC dba CKS Financial for the following:

               a.        Actual damages;

               b.        Statutory damages pursuant to 15 U.S.C. § 1692k and/or Section

                         559.77(2), Florida Statutes;

               c.        Declaratory and injunctive relief pursuant to Section 559.77(2),

                         Florida Statutes;

               d.        Costs and reasonable attorney's fees pursuant to 15 U.S.C. §

                         1692k; and/or Section 559.77(2), Florida Statutes;

               e.        For such other and further relief as the Court may deem just and

                         proper.

                                             Respectfully submitted,

                                             FLORIN LEGAL, P.A.

                                             /s/ Scott C. Florin
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                                 DEMAND FOR JURY TRIAL

        Please take notice that Plaintiff demands trial by jury in this action.



                                            /s/ Scott C. Florin
                                            Scott C. Florin
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